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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


ADRIAN CALISTE ET AL                                                        CIVIL ACTION

VERSUS                                                                      NO. 17-6197

HARRY E. CANTRELL                                                           SECTION "L" (5)



                                             ORDER

       Due to a conflict with the Court’s schedule,

       IT IS ORDERED that the upcoming telephone status conference, scheduled for Friday,

May 8, 2020 at 9:00 a.m., be RESCHEDULED to Thursday, May 7, 2020 at 10:00 a.m. Parties

are instructed to use the following dial-in information to participate and are expected to be on the

call five minutes before the scheduled start time.

       Dial-in #:      (877) 336-1839

       Access Code: 4227405

       New Orleans, Louisiana this 28th day of April, 2020.


                                                                   ________________________
                                                                          Eldon E. Fallon
                                                                    United States District Judge
